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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA, et al.,
              Plaintiffs,                           Case No. 1:20-cv-03010-APM

v.                                                  HON. AMIT P. MEHTA

GOOGLE LLC,
                   Defendant.




                NOTICE OF WITHDRAWAL OF APPEARANCE

      Pursuant to Local Rule 83.6(b), the undersigned, Diane R. Hazel, hereby

submits her Withdrawal of Appearance for Plaintiff State of Colorado in the above-

captioned matter. Jonathan B. Sallet, Steven M. Kaufmann, Matt Schock, Carla J.

Baumel, and Erica L. Fruiterman, of the Colorado Attorney General’s Office will

continue to represent Plaintiff State of Colorado, which will not be without

representation in this matter.

      DATED: July 20, 2022.

                                       Respectfully submitted,

                                       /s/ Diane R. Hazel
                                       Diane R. Hazel (DC Bar No. 1011531,
                                       inactive)
                                       First Assistant Attorney General
                                       Colorado Attorney General’s Office
                                       1300 Broadway, 7th Floor
                                       Denver, CO 80203
                                       Tel: 720-508-6000
                                       Diane.Hazel@coag.gov
        Case 1:20-cv-03010-APM Document 373 Filed 07/20/22 Page 2 of 2




                      UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA, et al.,
              Plaintiffs,                             Case No. 1:20-cv-03010-APM

v.                                                    HON. AMIT P. MEHTA

GOOGLE LLC,
                    Defendant.




                           CERTIFICATE OF SERVICE

      The undersigned attorney certifies that on July 20, 2022, a copy of the

foregoing Notice of Withdrawal of Appearance for Diane R. Hazel was electronically

filed with the Court, thereby providing electronic service to all counsel of record.

      DATED:        July 20, 2022

                                        Respectfully submitted,

                                        /s/ Diane R. Hazel
                                        Diane R. Hazel (DC Bar No. 1011531,
                                        inactive)
                                        First Assistant Attorney General
                                        Colorado Office of the Attorney General
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                                        Denver, CO 80203
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